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 9                           UNITED STATES DISTRICT COURT

10                          CENTRAL DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,             No. CR 2:11-00312-JAK-1

12             Plaintiff,                  ORDER MODIFYING SENTENCE AND
                                           SETTING CONDITIONS OF SUPERVISED
13                    v.                   RELEASE
14   ALBERT CURIEL,

15             Defendant.

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17        For the reasons stated in the “Order Re Motion for Compassionate
18   Release Under 18 U.S.C. § 3582(C)(1)(A) (Dkt. 133),” IT IS HEREBY
19   ORDERED THAT Defendant’s sentence of imprisonment is modified to time
20   served pursuant to 18 U.S.C. § 3582(c)(1)(A); provided, however, the
21   conditions of release are modified as follows:
22        1.   The Court imposes a new, additional term of supervised
23   release to run through the unserved portion of Defendant’s original
24   term of imprisonment -- to and including Defendant’s current
25   calculated release date of December 13, 2021.
26             a.     The terms of such supervised release shall be the same
27   as the terms of supervised release specified in the February 21, 2018
28   Judgment and Commitment Order (Dkt. 124), with the exception that
 1   Amended General Order 20-04, rather than General Order 18-10, shall

 2   apply.

 3             b.   In addition, Defendant shall serve this additional

 4   term of supervised release in home detention. During the period of

 5   home detention, the following terms and conditions shall apply:

 6                  i.    Defendant shall participate in location

 7   monitoring, which may include radiofrequency monitoring, GPS, or

 8   voice activation technology as directed by the Probation Officer.

 9                  ii.   Defendant shall be restricted to his residence at

10   all times, except for medical needs or treatment, attorney visits,

11   court appearances, or at the discretion of the Probation Officer.

12                  iii. The home detention shall be served in the current

13   residence of his mother, Alicia Curiel, in Chatsworth, California.

14   The location where Defendant shall reside may be changed only with

15   the approval of the Probation Officer.

16             c.   Upon the completion of the home confinement portion of

17   supervised release, Defendant shall remain on supervised release for

18   five years under the same terms and conditions stated in § 1.a,

19   supra.

20        2.   Before being released from BOP custody, Defendant shall

21   submit to a 14-day quarantine at USP Lompoc. This quarantine shall

22   begin promptly after entry of this Order.

23        3.   After the 14-day quarantine, Defendant shall submit to a

24   health screening by BOP and, if Defendant is found to be exhibiting

25   symptoms consistent with COVID-19 or Defendant is confirmed to have

26   COVID-19, Defendant shall not be released to the public absent

27   further order of the Court.

28
 1         4. During the period of supervised release, Defendant shall

 2   comply with national, state, and local public-health orders regarding

 3   COVID-19.

 4         IT IS SO ORDERED.

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 6   DATED: October 20, 2020             ______________________________
                                         John A. Kronstadt
 7                                       United States District Judge
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15   cc:   Bureau of Prisons
           United States Probation and Pretrial Services
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